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                      UNITED STATES DISTRICT COURT
                                                    for the
                                          Southern District of Florida


                    KENNY ORTEGA
                                                                          )
                           Plaintiff                                      )
                                                                          )
                              v.                                          )
                                                                          ) Civil Action No. 1:24-cv-22523-KMM
                                                                          )
MIAMI-DADE COUNTY, a political subdivision in the
                                                                          )
State of Florida, and JOSEPH DIAZ in his individual
                                                                          )
                       capacity
                                                                          )
                          Defendant


                                       AFFIDAVIT OF SERVICE


I, Lourdes Abraham-Vasallo, state:

I am 18 years or older and not a party to this action. I am a certified or appointed process server in the
county in which this defendant or witness was served.

I received the following documents on July 16, 2024, at 8:44 am. I served these documents with my initials,
identification number, and the date and hour of service endorsed thereon to MIAMI-DADE COUNTY C/O
MS. DANIELLA LEVINE CAVA, MAYOR OF MIAMI-DADE COUNTY in Miami-Dade County, FL on
July 17, 2024 at 3:03 pm at Miami Dade-County Stephen P. Clark Center, 111 NW 1st Street, 29th Floor,
Miami, FL 33128 by leaving the following documents with Kevin Morales who as Mayor's Aid is
authorized by appointment or by law to receive service of process for MIAMI-DADE COUNTY.

Summons to Defendant Miami-Dade County
Complaint


Additional Description:
PUBLIC AGENCY/OFFICER SERVICE : I served Kevin Morales, Mayor's Aid, who indicated they were
the person authorized and designated to accept service in the absence of the Chief Executive Officer,
Vice-Officer, or member of the board/counsel per the policy and at the request of MIAMI-DADE
COUNTY. Served pursuant to F.S. 48.111(1)(b)




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Hispanic or Latino Male, est. age 25-34, glasses: N, Black hair, 160 lbs to 180 lbs, 5' 6" to 5' 9".
Geolocation of Serve: https://google.com/maps?q=25.7756053,-80.1968876
Photograph: See Exhibit 1


Total Cost: $85.00

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.




                                                         /s/ Lourdes Abraham-Vasallo
Executed in                                              Signature
   Miami-Dade County                                ,    Lourdes Abraham-Vasallo
                                                         1157
   FL         on     7/19/2024                .          +1 (786) 236-4685
                                                         8730 SW 41 Street, Miami , FL 33165



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